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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


 Megan M. Lamke,                                         Court File No.:

                      Plaintiff,
                                                        NOTICE OF REMOVAL
 v.

 Sunbelt Rentals, Inc.,

                      Defendant.


       Defendant Sunbelt Rentals, Inc., respectfully files this Notice of Removal of the

above-captioned action from the District Court for the Fourth Judicial District of the State

of Minnesota, Hennepin County, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446. In

support of the Notice of Removal, Defendant states the following:

       1.      Plaintiff commenced an action in the Hennepin County District Court, Fourth

Judicial District, State of Minnesota, by service of a Summons and Complaint upon

Defendant Sunbelt Rentals, Inc., on November 10, 2021.

       2.      The Summons and Complaint were the first pleadings delivered to

Defendant. This matter was not initially filed in state court.

       3.      A true and correct copy of the Summons and Complaint is attached as Exhibit

A.

       4.      Defendant’s Answer is attached as Exhibit B.

       5.      To the best knowledge, information, and belief of Defendant, no further

process, pleadings, or orders have been filed or served in this matter.
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       6.      In the Complaint, Plaintiff seeks monetary damages arising out of an alleged

personal injury suffered in Hennepin County, Minnesota. The Complaint asserts a claim

for negligence arising out of an alleged accident. The state court action is a civil action

within the meaning of the Acts of Congress relating to the removal of cases.

       7.      Plaintiff Megan M. Lamke was and is a resident of the State of Minnesota.

Therefore, Plaintiff is a citizen of Minnesota.

       8.      Defendant Sunbelt Rentals, Inc., is a North Carolina corporation with its

principal place of business in South Carolina. Therefore, Sunbelt Rentals is a citizen of

North Carolina and South Carolina. 28 U.S.C. 1332(c)(1).

       9.      Complete diversity of citizenship therefore exists between the parties. 28

U.S.C. § 1332(a).

       10.     The Complaint claims an unspecified amount of monetary damages for

alleged personal injury damages in excess of $50,000.

       11.     The amount in controversy exceeds the sum or value of $75,000, exclusive

of interest and costs. 28 U.S.C. § 1446(c)(2).

       12.     Pursuant to 28 U.S.C. § 1332(a), this Court has original jurisdiction over this

action because there is complete diversity of citizenship and the amount in controversy

exceeds $75,000, exclusive of interest and costs.

       13.     Defendant was served on November 10, 2021. Removal of this action is

therefore timely, because this notice is being filed within thirty days of the date Defendant

received a copy of the initial pleadings in this case by service or otherwise, pursuant to 28

U.S.C. § 1446(b)(1).


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       14.    Removal of this case to the United States District Court for the District of

Minnesota is proper, because the District of Minnesota is the district embracing the place

where the action is pending, pursuant to 28 U.S.C. § 1441(a).

       15.    Pursuant to 28 U.S.C. § 1446(d), a true and correct copy of this Notice of

Removal has been filed with the Clerk of the Hennepin County District Court, Fourth

Judicial District, State of Minnesota, and served on the attorneys for the plaintiff.

       16.    By filing this Notice of Removal, Defendants do not waive any of their

affirmative defenses, including but not limited to their rights to move to dismiss for lack

of personal jurisdiction, improper process, improper service of process, improper venue,

failure to state a claim upon which relief can be granted, or failure to join all necessary

parties.

       17.    Defendant reserves the right to amend or supplement this Notice of Removal.

       WHEREFORE, Defendant Sunbelt Rentals, Inc., states that this action is properly

removable and respectfully requests that this action be removed from the Fourth Judicial

District Court of the State of Minnesota, Hennepin County, and that all further proceedings

in this action shall be conducted before this Court.




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Dated:    December 9, 2021                s/John E. Radmer
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